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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF DELAWARE

    SUSAN FINGER,                                       )   Case No.
                                                        )
                           Plaintiff,                   )
                                                        )
              v.                                        )   COMPLAINT FOR
                                                        )   VIOLATIONS OF THE
    NATIONAL WESTERN LIFE GROUP, INC.,                  )   FEDERAL SECURITIES LAWS
    DAVID S. BOONE, E. J. PEDERSON, TODD                )
    M. WALLACE, ROSS R. MOODY, THOMAS                   )   JURY TRIAL DEMANDED
    A. BLACKWELL, STEPHEN E. GLASGOW,                   )
    FRANCES A. MOODY-DAHLBERG, E.                       )
    DOUGLAS MCLEOD, and CHARLES D.                      )
    MILOS,                                              )
                                                        )
                           Defendants.
                                                        )

         Plaintiff Susan Finger (“Plaintiff”), upon information and belief, including an

examination and inquiry conducted by and through her counsel, except as to those allegations

pertaining to Plaintiff, which are alleged upon personal belief, alleges the following for her

Complaint:

                                    NATURE OF THE ACTION

         1.        Plaintiff brings this action against National Western Life Group, Inc. (“National

Western” or the “Company”) and its corporate directors for violating Sections 14(a) and 20(a)

of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and

U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §240.14a-9 (“Rule

14a-9”), in connection with the proposed acquisition of the Company by Prosperity Life Group

(“Prosperity Life”).1



1 The proposed business combination described herein is referred to as the “Proposed
Transaction.”
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       2.      On October 8, 2023, National Western entered into an Agreement and Plan of

Merger (the “Merger Agreement”) with S. USA Life Insurance Company, Inc. (“Parent”), an

affiliate of Prosperity Life, and Parent’s wholly owned subsidiary, PGH Merger Inc. (“Merger

Sub”). The Merger Agreement provides that National Western stockholders will receive

$500.00 in cash per share of Company common stock in connection with the Proposed

Transaction.

       3.      The Company’s corporate directors subsequently authorized the November 30,

2023, filing of a materially incomplete and misleading Schedule 14A Definitive Proxy

Statement (the “Proxy Statement”) with the SEC. The Proxy Statement, which recommends

that Company stockholders vote in favor of the Proposed Transaction, omits or misrepresents

material information necessary and essential to that decision. Defendants authorized the

issuance of the false and misleading Proxy Statement in violation of Sections 14(a) and 20(a)

of the Exchange Act.

       4.      It is imperative that the material information omitted from the Proxy Statement

is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote so that

they can properly exercise their corporate suffrage rights, among other things.2

       5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to the Company’s stockholders or, in the

event the Proposed Transaction is consummated, to recover damages resulting from the

defendants’ violations of the Exchange Act.


2 The Special Meeting    at which stockholders are asked to approve Proposed Transaction
currently is scheduled for January 8, 2024.



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                                JURISDICTION AND VENUE

       6.      This Court has jurisdiction over the claims asserted herein for violations of

Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder

pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal

question jurisdiction).

       7.      Personal jurisdiction exists over the defendants because each defendant either

conducts business in or maintains operations within this District or is an individual with

sufficient minimum contacts with this District to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

       8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District.

                                         THE PARTIES

       9.      Plaintiff is, and has been at all times relevant hereto, the owner of National

Western common stock.

       10.     Defendant National Western is a Delaware corporation with its principal

executive offices located at 10801 N. Mopac Expy, Bldg. 3, Austin, Texas 78759. National

Western’s shares trade on the Nasdaq Global Select Market under the ticker symbol “NWLI.”

National Western is the holding company for National Western Life Insurance Company

(“NWLIC”), a stock life insurance company chartered in the state of Colorado in 1956. As of

December 31, 2022, NWLIC maintained 81,917 policies for its life insurance products and

99,041 annuity contracts. NWLIC acquired Ozark National Life Insurance Company (“Ozark

National”), effective January 31, 2019. As of December 31, 2022, Ozark National maintained

171,915 policies for its life insurance products. As part of this acquisition, National Western



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acquired N.I.S. Financial Services, Inc., a broker-dealer affiliated with Ozark National

providing mutual fund investment products.

       11.     Defendant David S. Boone is and has been a director of the Company at all times

relevant hereto.

       12.     Defendant E. J. Pederson is and has been a director of the Company at all times

relevant hereto.

       13.     Defendant Todd M. Wallace is and has been a director of the Company at all

times relevant hereto.

       14.     Defendant Ross R. Moody is and has been Chairman of the Board and President,

Chief Executive Officer and a director of the Company at all times relevant hereto.

       15.     Defendant Thomas A. Blackwell is and has been a director of the Company at

all times relevant hereto.

       16.     Defendant Stephen E. Glasgow is and has been a director of the Company at all

times relevant hereto.

       17.     Defendant Frances A. Moody-Dahlberg is and has been a director of the

Company at all times relevant hereto.

       18.     Defendant E. Douglas McLeod is and has been a director of the Company at all

times relevant hereto.

       19.     Defendant Charles D. Milos is and has been a director of the Company at all

times relevant hereto.

       20.     Defendants identified in paragraphs 11-19 are collectively referred to herein as

the “Board” or the “Individual Defendants.”




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                              SUBSTANTIVE ALLEGATIONS

The Proposed Transaction

        21.    On October 9, 2023, Prosperity and the Company jointly announced in relevant

part:

        Austin, Texas, October 9, 2023 ‑ National Western Life Group, Inc. (“National
        Western” or the “Company”) (NASDAQ:NWLI), and Prosperity Life Group
        (“Prosperity Life Group”) today announced the signing of a definitive Merger
        Agreement whereby S. USA Life Insurance Company, Inc. (“SUSA”), an
        affiliate of Prosperity Life Group, will acquire National Western in an all-cash
        transaction valued at approximately $1.9 billion (the “Merger Agreement”).

        As part of the agreement, each issued and outstanding share of National Western
        common stock will be converted into the right to receive $500 in cash at closing
        of the merger. The merger consideration of $500 per share of National
        Western’s Class A Common Stock and Class B Common Stock (the “Merger
        Consideration”) represents an 87.1% premium to the unaffected Class A
        Common Stock share price of $267.29 on May 16, 2023, as well as an 11.8%
        premium over National Western’s 30-day volume-weighted average price as of
        October 6, 2023. The merger has received the unanimous approval of National
        Western’s Board of Directors.

        Nicholas von Moltke, President and Chief Executive Officer of Prosperity Life
        Group, said, “The acquisition of National Western represents a significant
        milestone in the continued expansion of our insurance business. We look
        forward to welcoming National Western to Prosperity Life Group. National
        Western’s capabilities will further complement our ambition to deliver a
        compelling value proposition to our policyholders and the company.”

        Ross R. Moody, Chairman of the Board and Chief Executive Officer of National
        Western, said, “This is an exciting moment in National Western’s history. I
        would like to thank our board of directors, particularly our strategic
        opportunities committee of independent directors, which conducted a thorough
        review of a range of strategic alternatives and possible business opportunities to
        maximize value for our stockholders. The transaction provides clear and
        immediate value for our stockholders at an attractive premium.”

        The merger is expected to close in the first half of 2024. It is subject to certain
        customary closing conditions for a transaction of this type, including approval
        by National Western’s stockholders, antitrust clearance and receipt of insurance
        regulatory approvals. National Western stockholders that collectively own
        common shares representing approximately 29.7% of the total voting power of
        the Company’s common shares (including 99% of the Company’s Class B



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      Common Stock) have executed voting and support agreements with SUSA.
      Under these voting and support agreements, each of these stockholders has
      agreed to vote all common shares owned by that stockholder in favor of the
      Merger Agreement and against any alternative transactions.

      National Western will file a current report on Form 8-K with the U.S. Securities
      and Exchange Commission (the “SEC”) containing a summary of the terms and
      conditions of the proposed acquisition, as well as a copy of the Merger
      Agreement and the form of voting and support agreement.

      The Merger Consideration will be funded through a combination of (i) cash from
      internal sources, (ii) a capital commitment from affiliates of Elliott Investment
      Management L.P. and (iii) borrowing under existing facilities or debt
      commitments, the aggregate proceeds of which will provide Prosperity Life
      Group and its affiliates with the funds needed to consummate the merger,
      including to pay the aggregate Merger Consideration pursuant to the Merger
      Agreement. The capital commitment will be reduced by the amount of any debt
      actually funded at closing if and to the extent that such debt financing is used to
      fund the payment of Merger Consideration. The completion of the merger is not
      conditioned on receipt of financing by Prosperity Life Group or its affiliates.

      Advisors

      Citi is serving as financial advisor and Debevoise & Plimpton LLP is serving as
      legal advisor to Prosperity Life Group and SUSA on this transaction.

      Goldman Sachs & Co. LLC serves as financial advisor and Sidley Austin LLP
      is acting as outside M&A counsel to National Western on this transaction.

The Materially Incomplete and Misleading Proxy Statement

      22.     The Board caused to be filed the materially incomplete and misleading Proxy

Statement with the SEC on November 30, 2023 The Proxy Statement, which recommends that

National Western stockholders vote their shares in favor of the Proposed Transaction, fails to

disclose material information to Company stockholders, or provides them with materially

misleading information, concerning: (a) National Western’s financial forecasts; (b) the

financial analyses that support the fairness opinion provided by the Company’s financial

advisor, Goldman Sachs & Co. LLC (“Goldman Sachs”); and (c) potential conflicts of interest

faced by Company insiders.



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Material Misrepresentations and/or Omissions Concerning the Company’s Financial
Forecasts

       23.     The Proxy Statement fails to disclose material information concerning the

Company’s financial forecasts, including the following metrics for National Western: (a)

deferred sales inducements amortization expense; (b) cost of reinsurance; (c) market risk benefit

expense; (d) reinsurance gain amortization; and (e) GAAP expense capitalization for deferred

acquisition costs.3

Material Misrepresentations and/or Omissions Concerning the Financial Analyses Prepared
by Goldman Sachs

       24.     The Proxy Statement fails to disclose material information concerning the

financial analyses prepared by Goldman Sachs.

       25.     As to the Illustrative Dividend Discount Model performed by Goldman Sachs,

the Proxy Statement fails to disclose: (a) the estimated capital return to stockholders from the

Company for the third quarter of 2023 through 2027; (b) the Company’s terminal values; and

(c) the Company’s fully diluted outstanding shares.

       26.     As to the Illustrative Present Value of Future Share Price Analysis performed

by Goldman Sachs, the Proxy Statement fails to disclose: (a) the Company’s projected book

value per share of Company common stock (excluding AOCI) as of December 31, 2023, 2024




3 See Proxy Statement at 52, stating that “National Western’s management prepared the
Forecasts by converting the Company’s most recent National Western Life projections from
statutory principles to GAAP, using statutory vs GAAP accounting differences previously
identified as part of the Company’s annual audit reporting process.” According to the Proxy
Statement, these differences include “amortization expense for deferred acquisition costs
(“DAC”), deferred sales inducements “DSI” amortization expense and cost of reinsurance
(“COR”), as well as market risk benefit (“MRB”) expense, reinsurance gain amortization and
GAAP expense capitalization for DAC.”



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and 2025; and (b) the estimated distributions to be paid per share of Company common stock

through the end of the applicable period.

       27.     As to the Premia Paid Analysis performed by Goldman Sachs, she Proxy

Statement fails to disclose the transactions analyzed and their respective, corresponding premia.

Material Misrepresentations and/or Omissions Concerning Potential Conflicts of Interest
Affecting Company Insiders

       28.     The Proxy Statement fails to disclose material information concerning the

potential conflicts of interest affecting Company Insiders, including whether any of Prosperity

Life’s proposals or indications of interest mentioned management retention in the combined

company following the Proposed Transaction or the purchase of or participation in the equity

of the surviving corporation.

       29.     The omission of the above-referenced information renders statements in the

“Certain Prospective Unaudited Financial and Operating Information of National Western,”

“Opinion of National Western’s Financial Advisor,” “Background of the Merger,” and

“Compensation Arrangements with Parent” sections of the Proxy Statement materially

incomplete and misleading in contravention of the Exchange Act.

       30.     Absent disclosure of the foregoing material information prior to the stockholder

vote, Plaintiff and the other stockholders of the Company will be unable to make a sufficiently

informed decision in connection with the Proposed Transaction and are thus threatened with

irreparable harm warranting the injunctive relief sought herein.




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                                   CLAIMS FOR RELIEF

                                           COUNT I

 Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
         Thereunder Against the Individual Defendants and National Western

          31.   Plaintiff repeats and realleges the preceding allegations as if fully set forth

herein.

          32.   The Individual Defendants disseminated the false and misleading Proxy

Statement, which contained statements that, in light of the circumstances under which they were

made, omitted to state material facts necessary to make the statements therein not materially

misleading, in violation of Section 14(a) of the Exchange Act and Rule 14a-9. National

Western is liable as the issuer of these statements.

          33.   The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual

Defendants were aware of this information and their duty to disclose this information in the

Proxy Statement.

          34.   The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

          35.   The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote

on the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

          36.   The Proxy Statement is an essential link in causing Plaintiff and the Company’s

stockholders to approve the Proposed Transaction.


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          37.   By reason of the foregoing, defendants violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.

          38.   Because of the false and misleading statements in the Proxy Statement, Plaintiff

is threatened with irreparable harm.



                                          COUNT II

                 Claims for Violation of Section 20(a) of the Exchange Act
                            Against the Individual Defendants

          39.   Plaintiff repeats and realleges the preceding allegations as if fully set forth

herein.

          40.   The Individual Defendants acted as controlling persons of National Western

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their

positions as officers and/or directors of National Western and participation in and/or awareness

of the Company’s operations and/or intimate knowledge of the false statements contained in

the Proxy Statement, they had the power to influence and control and did influence and control,

directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are false and misleading.

          41.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by Plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or

cause them to be corrected.

          42.   Each of the Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company, and, therefore, is presumed to have had the power to




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control and influence the transactions giving rise to the violations as alleged herein and

exercised the same. The Proxy Statement contains the unanimous recommendation of the

Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

       43.     By virtue of the foregoing, the Individual Defendants violated Section 20(a) of

the Exchange Act.

       44.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of defendants’ conduct, Plaintiff is threatened with

irreparable harm.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in her favor on behalf of the Company, and against defendants, as

follows:

               A.      Preliminarily and permanently enjoining defendants and all persons

acting in concert with them from proceeding with, consummating, or closing the Proposed

Transaction and any vote on the Proposed Transaction, unless and until defendants disclose and

disseminate the material information identified above to Company stockholders;

               B.      In the event defendants consummate the Proposed Transaction,

rescinding it and setting it aside or awarding rescissory damages to Plaintiff;

               C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the



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Exchange Act;

                D.     Awarding Plaintiff the costs of this action, including reasonable

allowance for Plaintiff’s attorneys’ and experts’ fees; and

                E.     Granting such other relief as this Court may deem just and proper.

                                       JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.

 Dated: December 13, 2023                              LONG LAW, LLC

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